Case 8:17-cv-02201-SDM-AAS Document 20 Filed 10/26/17 Page 1 of 3 PageID 105




                           UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF FLORIDA
                                    Tampa Division

   INDIA BANKS,
   on behalf of herself and all others similarly
   situated,

                  Plaintiff,

   v.                                                      Case No. 8:17-cv-02201-SDM-AAS

   KENNETH REES; THINK FINANCE, INC.;
   THINK FINANCE SPV, LLC; TC DECISION
   SCIENCES, LLC; TC LOAN SERVICE, LLC;
   TAIL WIND MARKETING, LLC; TC
   ADMINISTRATIVE SERVICES, LLC and GPL
   SERVICING, LTD.,

                  Defendants.

                        DEBTORS’ SUGGESTION OF BANKRUPTCY

          PLEASE TAKE NOTICE THAT on October 23, 2017, Think Finance, LLC (f/k/a

   Think Finance, Inc.), Think Finance SPV, LLC, TC Decision Sciences, LLC, TC Loan

   Service, LLC, TC Administrative Services, LLC, and Tailwind Marketing, LLC

   (collectively, the “Debtors”), Defendants in the above-captioned proceedings, filed voluntary

   petitions for relief pursuant to chapter 11 of Title 11 of the United States Code, 11 U.S.C. §§

   101-1532 (as amended, the “Bankruptcy Code”).           The Debtors’ bankruptcy cases (the

   “Bankruptcy Cases”) are pending before the United States Bankruptcy Court for the Northern

   District of Texas. The Debtors have requested joint administration of the Bankruptcy Cases

   under Case No. 17-33964-hdh11.

          Immediately upon the commencement of the Bankruptcy Cases, the automatic stay

   imposed by section 362 of the Bankruptcy Code went into effect. Section 362 operates as a


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Case 8:17-cv-02201-SDM-AAS Document 20 Filed 10/26/17 Page 2 of 3 PageID 106




   stay, applicable to all entities, of (i) the commencement or continuance of judicial,

   administrative, or other actions or proceedings against the Debtors that were or could have

   been commenced before the commencement of the Bankruptcy Cases, or to recover a claim

   against the Debtors that arose before the commencement of the Bankruptcy Cases, (ii) the

   enforcement against the Debtors or against the property of the estate of a judgment obtained

   before the commencement of the Bankruptcy Cases, (iii) any act to obtain possession of

   property of or from the estate or to exercise control over property of the estate, and (iv) any

   act to create, perfect, or enforce a lien against property of the estate.


   Dated: October 26, 2017
                                                   Respectfully submitted,

                                                   HUNTON & WILLIAMS LLP

                                                   /s/ Gustavo J. Membiela
                                                   Gustavo J. Membiela, Florida Bar No. 0513555
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                                                   Suite 2500
                                                   Miami, FL 33131
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                                                   Attorney for Think Finance, LLC (f/k/a Think
                                                   Finance, Inc.), Think Finance SPV, LLC,
                                                   Tailwind Marketing, LLC, TC Loan Service,
                                                   LLC, TC Administrative Services, LLC, and TC
                                                   Decision Sciences, LLC
Case 8:17-cv-02201-SDM-AAS Document 20 Filed 10/26/17 Page 3 of 3 PageID 107




                                CERTIFICATE OF SERVICE

       I hereby certify that on October 26, 2017, I caused the foregoing to be filed through this

Court’s CM/ECF system, which will send a notice of electronic filing to all attorneys of record.

                                             /s/ Gustavo J. Membiela
                                             Gustavo J. Membiela




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